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                  UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GERMAN CHAJCHIC,                                :     CIVIL NO. 1:17-CV-457
                                                :
             Petitioner,                        :     (Chief Judge Conner)
                                                :
             v.                                 :
                                                :     (Magistrate Judge Carlson)
JOHN ROWLEY, et al.,                            :
                                                :
             Respondents.                       :

                      REPORT AND RECOMMENDATION

      I.     Factual Background

      On March 15, 2017, German Chajchic filed a petition for writ of habeas corpus

which alleged that the petitioner, an alien residing in the United States, had been placed

in removal proceedings, and has been detained pre-removal pursuant to a mandatory

detention statute for more than one year. (Doc. 1.) With the passage of more than one

year in immigration detention, the petitioner came before this court on this petition for

writ of habeas corpus, seeking “a bond hearing before an Immigration Judge.” (Doc.

1, p. 7.) We directed a response to this petition, which was filed on April 6, 2017, and

in that response the Respondents acknowledged the following essential facts:

      German Chajchic, is a native and citizen of the Guatemala, who was admitted

to the United States on July 15, 1993 as a B2, Temporary Visitor for Pleasure. Chajchic

was later granted lawful permanent resident status on January 10, 2001. On November



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16, 2010, Chajchic was charged federally with drug trafficking. Chajchic was

subsequently convicted and, on May 17, 2013, Chajchic was sentenced in the United

States District Court for the Eastern District New York to twenty-four months

imprisonment for conspiracy to distribute marijuana.

      On February 26, 2016, upon release from criminal custody, immigration officials

took Chajchic into immigration detention and issued a notice to appear charging

Chajchic as removable pursuant to section 237(a)(2)(A)(iii) of the Immigration and

Nationality Act (INA) based on Chajchic’s conviction for an aggravated felony drug

trafficking offense. Chajchic conceded removability but applied for relief in the form

of Withholding of Removal and Deferral of Removal under the Convention against

Torture. Under the Immigration and Naturalization Act, Chajchic’s detention was

mandatory, and he has received no individualized bail consideration.

      On July 5, 2016, an immigration judge ordered Chajchic removed and denied

all forms of relief under the Convention Against Torture. Chajchic appealed this July

5, 2016 decision to the Board of Immigration Appeals (BIA) which dismissed the

appeal. Chajchic then filed a petition for review with the United States Court of

Appeals for the Third Circuit, and moved for a stay of removal, which the Third Circuit

granted. As a matter of law, this appellate court action had the effect of converting

Chajchic’s custodial status to section 1226 (c) pre-final order detention. See Leslie v.



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Att’y Gen., 678 F.3d 265, 270 (3d Cir. 2012). Consequently it appears that Chajchic

has been held in pre-removal detention for more than one year without any

individualized bond consideration. Thus, it is undisputed that Chajchic’s current period

of mandatory detention without bond consideration has reached what the court of

appeals has previously described as a presumptively unreasonable duration, thus

triggering a right to a bond hearing. Chavez-Alvarez v. Warden York Cnty. Prison, 783

F.3d 469 (3d Cir. 2015) On these facts, the Respondents agree that if the court enters

an order directing this matter to an immigration judge for a bond hearing, Respondents

will coordinate with the Immigration Court to schedule a bond hearing as expeditiously

as possible. See 8 C.F.R. § 1003.19(c) (the Immigration Court has jurisdiction to hold

such bond hearings and in light of its expertise in immigration law is the appropriate

forum for such hearings). (Doc. 4, p. 2.)

      In light of these developments it is recommended that the district court grant the

petition and order an individualized bond hearing for Chajchic to be conducted before

an Immigration Judge, “at which the Government bears the burden of proving that

continued detention is necessary to fulfill the purposes of the detention statute,” Diop

v. ICE/Homeland Sec., 656 F.3d 221, 233 (3d Cir. 2011), something the government

appears to concede should take place in this case.

      II.     Discussion

      One of the statutory and constitutional duties conferred upon this court is the

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responsibility to address federal habeas corpus petitions filed by immigration detainees

who challenge their immigration detention as unconstitutionally excessive. Over the

past several years, case law in this field has evolved significantly, providing far greater

clarity to the courts regarding the benchmarks they should apply when discharging this

important responsibility, a duty rooted in our constitution.

      In Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469 (3d Cir. 2015),

the court of appeals has provided us with an analytical paradigm to apply when

assessing these immigration excessive detention claims in a pre-removal context. As

the court explained in outlining the legal terrain in this field:

      Before 1996, significant numbers of aliens convicted of serious crimes
      were taking advantage of their release on bond as an opportunity to flee,
      avoid removal, and commit more crimes. Demore v. Kim, 538 U.S. 510,
      518–19, 123 S.Ct. 1708, 155 L.Ed.2d 724 (2003). Congress fixed this
      problem by enacting section 1226(c), expanding the range of serious
      crimes for which the Government was required to detain convicted aliens.
      Notably, section 1226(c) does not give the Attorney General any
      authority to release these aliens on bond. Id. at 521, 123 S.Ct. 1708. The
      Supreme Court left no doubt that the Government's authority under
      section 1226(c) to detain aliens without an opportunity for bond complies
      with the Constitution. Id. at 531, 123 S.Ct. 1708. However, as we discuss
      below, we read Demore as also recognizing that there are limits to this
      power. Diop, 656 F.3d 221; Leslie v. Attorney Gen. of the United States,
      678 F.3d 265 (3d Cir.2012). When the Supreme Court upheld the
      constitutionality of the law in Demore, it also gave us insight into how,
      from a due process perspective, section 1226(c)'s allowance of detention
      without bail worked. The Court reiterated the fundamental idea that aliens
      are protected by constitutional due process. Demore, 538 U.S. at 523, 123
      S.Ct. 1708 (citing Reno v. Flores, 507 U.S. 292, 306, 113 S.Ct. 1439, 123
      L.Ed.2d 1 (1993)). But, it put the alien's issue in perspective, saying “
      ‘[i]n the exercise of its broad power over naturalization and immigration,

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      Congress regularly makes rules that would be unacceptable if applied to
      citizens.’ ” Id. at 521, 123 S.Ct. 1708 (quoting Mathews v. Diaz, 426 U.S.
      67, 79–80, 96 S.Ct. 1883, 48 L.Ed.2d 478 (1976)). The Court went on to
      say that applying “ ‘reasonable presumptions and generic rules' ” to
      groups of aliens—for purposes of due process—can be consistent with the
      idea that aliens can be treated differently. Id. at 526, 123 S.Ct. 1708
      (quoting Flores, 507 U.S. at 313, 113 S.Ct. 1439); see also Carlson v.
      Landon, 342 U.S. 524, 72 S.Ct. 525, 96 L.Ed. 547 (1952). The Court, in
      essence, concluded that Congress lawfully required the Attorney General
      to make presumptions of flight and dangerousness about the alien solely
      because he belonged to the group of aliens convicted of the types of
      crimes defined in section 1226(c).


Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 472 73 (3d Cir. 2015).

      Thus, the court in Chavez-Alvarez recognized that Demore held that mandatory

detention of certain criminal aliens pending removal proceedings does not, by itself,

offend due process. However, the Demore Court based this ruling upon its

understanding of the short, fixed and finite term of any detention prior to removal

which typically should not exceed 6 months. Yet, while Demore addressed the due

process issues that arise from the fact that, for certain criminal aliens, detention

pending removal is mandatory, it is also clear that courts still have an independent

responsibility to assess whether the duration of any mandatory detention is so extended

and unreasonable as to violate due process.

      Further, the court in Chavez-Alvarez provided us with clear guidance in

assessing the reasonableness of the duration of any mandatory immigration detention.

This determination entails a balancing test, and while noting that “[b]y its very nature,

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the use of a balancing framework makes any determination on reasonableness highly

fact-specific,” Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 474 (3d

Cir. 2015), the court enjoins us that there are several guideposts which we must

consider. First, in a case where an alien is prosecuting a good faith challenge to his or

her removal from the United States, the appellate court held that, “beginning sometime

after the six-month time frame considered by Demore, and certainly by the time [the

alien] had been detained for one year, the burdens to [the petitioner’s] liberties

outweigh[] any justification for using presumptions to detain him without bond to

further the goals of the statute. We conclude that the underlying goals of the statute

would not have been, and will not now be undermined by requiring the Government

to produce individualized evidence that [the petitioner’s] continued detention was or

is necessary.” Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 478 (3d

Cir. 2015).

      In prescribing this one-year time frame beyond which the presumption of

detention is sufficiently eroded that an individualized bail consideration is necessary,

the appellate court also defined what showing the government must make in order to

justify the continued detention of the petitioner. According to the court, the

immigration statute “ ‘implicitly authorizes detention for a reasonable amount of time,

after which the authorities must make an individualized inquiry into whether detention

is still necessary to fulfill the statute's purposes of ensuring that an alien attends

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removal proceedings and that his release will not pose a danger to the community.’ ”

Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 475 (3d Cir. 2015).

Further, once “detention becomes unreasonable, the Due Process Clause demands a

hearing, at which the Government bears the burden of proving that continued detention

is necessary to fulfill the purposes of the detention statute.” Diop v. ICE/Homeland

Sec., 656 F.3d 221, 233 (3d Cir. 2011)(emphasis added.)

      Applying Chavez-Alvarez to the facts of this case, we conclude–and the

government does not dispute–that Chajchic has made a prima facie showing justifying

an individualized bail hearing. Thus, all parties agree that this legal challenge to his

removal is presented in good faith, the initial benchmark cited by the court in Chavez-

Alvarez. It is also undisputed that the current duration of Chajchic’s pre-removal

detention now exceeds one year, a period of time which Chavez-Alvarez found to be

presumptively excessive, thus triggering a right to an individualized bail hearing.

      Finding that an individualized bail hearing is appropriate in this case, it is

recommended that this Court order that an Immigration Judge in the first instance

conduct this individualized bond hearing. Indeed, in Chavez-Alvarez, the appellate

court suggested that, in many instances, this initial bail determination can, and should,

be made by the Immigration Judge, applying the constitutional benchmarks outlined

by the courts. Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 478 n.12

(3d Cir. 2015). This guidance, in turn, is consistent with other case law in this field,

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where federal courts have frequently referred these bail questions to Immigration

Judges in the first instance. See, e.g., Casas-Castrillon v. Dep’t of Homeland Security,

535 F.3d 942 (9th Cir. 2008); Reid v. Donelan, 991 F. Supp. 2d 275 (D. Mass. 2014);

Chen v. Aitken, 917 F. Supp. 2d 1013 (N.D. Cal. 2013); Sengkeo v. Horgan, 670 F.

Supp. 2d 116 (D. Mass. 2009); Bourguignon v. MacDonald, 667 F. Supp. 2d 175 (D.

Mass. 2009); Wilks v. U.S. Dep’t of Homeland Security, No. 07-2171, 2008 WL

4820654 (M.D. Pa. Nov. 3, 2008). Moreover, this course of action is entirely consistent

with settled case law directing such hearings before immigration judges for petitioners

like Chajchic whose extended pre-removal detention falls within the ambit of the

ruling in Chavez-Alvarez. See e.g., Vale v. Sabol, No. 1:15-CV-2249, 2015 WL

8602751, at *1 (M.D. Pa. Dec. 14, 2015); Singh v. Sabol, No. 1:14-CV-1927, 2015

WL 3519075, at *1 (M.D. Pa. June 4, 2015), appeal dismissed (Sept. 9, 2015).



      III.   Recommendation

      Accordingly, for the foregoing reasons, IT IS RECOMMENDED that the district

court GRANT the petition and order an individualized bond hearing for Chajchic

within 21 days in accordance with the dictates of the United States Court of Appeals

in Chavez-Alvarez v. Warden York Cnty. Prison, 783 F.3d 469, 478 (3d Cir. 2015).

      The parties are further placed on notice that pursuant to Local Rule 72.3:

      Any party may object to a magistrate judge's proposed findings,

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recommendations or report addressing a motion or matter described in 28
U.S.C. § 636 (b)(1)(B) or making a recommendation for the disposition
of a prisoner case or a habeas corpus petition within fourteen (14) days
after being served with a copy thereof. Such party shall file with the clerk
of court, and serve on the magistrate judge and all parties, written
objections which shall specifically identify the portions of the proposed
findings, recommendations or report to which objection is made and the
basis for such objections. The briefing requirements set forth in Local
Rule 72.2 shall apply. A judge shall make a de novo determination of
those portions of the report or specified proposed findings or
recommendations to which objection is made and may accept, reject, or
modify, in whole or in part, the findings or recommendations made by the
magistrate judge. The judge, however, need conduct a new hearing only
in his or her discretion or where required by law, and may consider the
record developed before the magistrate judge, making his or her own
determination on the basis of that record. The judge may also receive
further evidence, recall witnesses or recommit the matter to the magistrate
judge with instructions.




Submitted this 7th day of April, 2017.


                                         S/Martin C. Carlson
                                         Martin C. Carlson
                                         United States Magistrate Judge




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